

Matter of Zi v Burke (2017 NY Slip Op 06634)





Matter of Zi v Burke


2017 NY Slip Op 06634


Decided on September 26, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 26, 2017

Friedman, J.P., Richter, Moskowitz, Gesmer, JJ.


4518 106/17 -3188] 1932/15

[*1]In re John Kojo Zi, Petitioner-Appellant,
vJames Burke, etc., et al., Respondents-Respondents, Matthew C. Grieve, etc., et al., Respondents.


John Kojo Zi, petitioner pro se.
Eric T. Schneiderman, Attorney General, New York (Charles F. Sanders of counsel), for Hon. James Burke, respondent.
Cyrus R. Vance, Jr., District Attorney, New York (Carey W. Ng of counsel, for Hon. Cyrus R. Vance, Jr. and Carey Ng, respondents.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
ENTERED:
CLERK








